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12
13                         UNITED STATES DISTRICT COURT
14                        CENTRAL DISTRICT OF CALIFORNIA

15   ANTONIO FERNANDEZ,                 )        Case No.: 2:19-CV-01077-GW-KS
                                        )
16           Plaintiff,                 )        JOINT STIPULATION FOR
                                        )        DISMISSAL PURSUANT TO
17     v.                               )        F.R.C.P. 41 (a)(1)(A)(ii)
18   COUNTY OF LOS ANGELES; and Does 1-))
     10, Inclusive,                     )
19           Defendants.                )
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     Joint Stipulation                     -1-               2:19-CV-01077-GW-KS
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1           Pursuant to F.R.CIV.P.41 (a)(1)(A)(ii), IT IS STIPULATED by and between the
2    parties hereto that this action may be dismissed with prejudice as to all parties; each
3    party to bear his/her/its own attorneys’ fees and costs. This stipulation is made as the
4    matter has been resolved to the satisfaction of all parties.
5
6    Dated: May 29, 2020               CENTER FOR DISABILITY ACCESS
7
8                                      By: /s/ Amanda Lockhart Seabock
                                              Amanda Lockhart Seabock
9                                             Attorneys for Plaintiff
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11   Dated: May 29, 2020
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13                                     By: /s/ Keever Rhodes Muir
                                             Keever Rhodes Muir
14                                           (Deputy County Counsel)
                                             Attorneys for Defendant
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                                             County of Los Angeles
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     Joint Stipulation                        -2-                   2:19-CV-01077-GW-KS
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1
2                              SIGNATURE CERTIFICATION

3
     I hereby certify that the content of this document is acceptable to Keever Rhodes Muir,
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     counsel for County of Los Angeles, and that I have obtained authorization to affix her
5
     electronic signature to this document.
6
7
     Dated: May 29, 2020             CENTER FOR DISABILITY ACCESS
8
9                                    By: /s/ Amanda Lockhart Seabock
                                            Amanda Lockhart Seabock
10                                          Attorneys for Plaintiff
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     Joint Stipulation                        -3-                2:19-CV-01077-GW-KS
